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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
FORT MYERS DIVISION

ALEXANDER JOHNSON,
Plaintiff,

Vv. Case No: 2:14-cv-682-FtM-29DNF

JAY VARAHIMATA INVESTMENTS,
LLC., a Florida limited
liability company,

Defendant.

 

ORDER

This cause is before the Court on the Case Management Report (Doc.
No. 19) filed February 9, 2015. As indicated in the report, the parties
have agreed to consent to proceed before a United States Magistrate Judge
for all proceedings. In order for the parties to proceed in this manner,
all parties must sign a Consent to Exercise of Jurisdiction by a United
States Magistrate Judge form, attached hereto, and agree that any appeal
shall be taken to the United States Court of Appeals.

If all parties desire to consent, this form must be filed with the
Clerk of Court within fourteen (14) days from the date of this order.
Absent a written consent, the case will be placed on the District Judge’s
trial calendar.

DONE and ORDERED at Fort Myers, Florida, this day of February,

JOHN E.\/STEELE
UNITED STATES DISTRICT JUDGE

2015.

Copies: All Counsel of Record
Case 2:14-cv-00682-JES-D_F Document 22 Filed 02/18/15 Page 2 of 2 PagelD 73

AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge
UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
FORT MYERS DIVISION
ALEXANDER JOHNSON,
Plaintiff,
V. Case No: 2:14-cv-682-FtM-29DNF
JAY VARAHIMATA INVESTMENTS, LLC.,

Defendant.

 

NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

Notice of a magistrate judge's availability. A United States magistrate judge of this court is available to conduct all
proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment may then be
appealed directly to the United States court of appeals like any other judgment of this court. A magistrate judge may exercise this
authority only if all parties voluntarily consent.

You may consent to have your case referred to a magistrate judge, or you may withhold your consent without adverse
substantive consequences. The name of any party withholding consent will not be revealed to any judge who may otherwise be involved
with your case,

Consent to a magistrate judge's authority. The following parties consent to have a United States magistrate judge conduct all
proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.

Parties' printed names Signatures of parties or attorneys - Dates

 

 

 

 

 

 

 

 

REFERENCE ORDER

IT IS ORDERED that this case be referred to a UNITED STATES MAGISTRATE JUDGE for afl further proceedings and
order the entry of a final judgment in accordance with 28 U.S.C. 636c), Fed. R. Civ. P. 73.

 

 

DATE UNITED STATES DISTRICT JUDGE

NOTE: RETURN THIS FORM TO THE CLERK OF THE COURT ONLY IF YOU ARE CONSENTING TO THE EXERCISE OF JURISDICTION BY
A UNITED STATES MAGISTRATE JUDGE. DO NOT RETURN THIS FORM TO A JUDGE.
